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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 IN RE THE APPLICATION OF THE
 BALTIMORE SUN FOR ACCESS TO                        18-CV-2444-CCB
 CERTAIN SEALED COURT RECORDS




 UNITED STATES RESPONSE TO APPLICATION OF THE BATLIMORE SUN FOR
            ACCESS TO CERTAIN SEALED COURT RECORDS

       The United States of America, by its undersigned counsel, hereby files this response to the

Application of the Baltimore Sun for Access to Certain Sealed Court Records (Document No. 1,

filed August 10, 2018).

       Following the conference call convened by the Court on September 18, 2018, counsel for

the United States contacted counsel for the Baltimore Sun and proposed that the Government

unseal the documents identified in the Application fourteen (14) days after the conclusion of the

trial in United States v. Snell, Cr. No. 17-602. The Snell trial which is scheduled to begin on

October 29, 2018, and anticipated to conclude by November 2, 2018. Assuming the Snell trial

ends by November 2, 2018, the United States shall release the documents covered by the

Application by November 16, 2018.

       This schedule will allow the United States to review the documents covered by the

Application and make appropriate redactions. As counsel for the United States stated on the

conference call, the United States will file motions to unseal redacted versions of the documents

covered by the Application and shall file redacted versions of the documents with those motions

to unseal. To protect the privacy of those involved, the Government will redact all personally

identifiable information – e.g., email addresses, home addresses, telephone numbers, and names
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of uncharged individuals and uncharged entities from the documents that are subject to unsealing

at that time. 1 The United States will also redact any information in the documents that are subject

to unsealing that reveals any on-going law enforcement investigation, to the extent any such

investigation or investigations exist at that time.

        Counsel for the Baltimore Sun agrees to this release schedule.



                                                              Respectfully submitted,

                                                              Robert K. Hur
                                                              United States Attorney

                                                     By:
                                                              Leo J. Wise
                                                              Derek E. Hines
                                                              Assistant United States Attorneys

Dated: September 26, 2018


                                      CERTIFICATE OF SERVICE

        I hereby certify that this filing was served on defense counsel via ECF electronic filing.


                                                     By:
                                                              Leo J. Wise
                                                              Assistant United States Attorney




1
  There is ordinarily no legitimate governmental interest served by the government's public allegation of wrongdoing
by an uncharged party. See, e.g., In re Smith, 656 F.2d 1101, 1106-07 (5th Cir. 1981). Courts have applied this
reasoning to preclude the public identification of unindicted third-party wrongdoers in plea hearings, sentencing
memoranda, and other government pleadings. See, e.g., Finn v. Schiller, 72 F.3d 1182 (4th Cir. 1996); United States
v. Briggs, 513 F.2d 794 (5th Cir. 1975); United States. v Anderson, 55 F.Supp.2d 1163 (D. Kan 1999); United States
v. Smith, 992 F. Supp. 743 (D.N.J. 1998).

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